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15
                                UNITED STATES DISTRICT COURT
16
17                           NORTHERN DISTRICT OF CALIFORNIA

18                                      OAKLAND DIVISION

19
      EPIC GAMES, INC.,                              Case No. 4:20-CV-05640-YGR-TSH
20
                    Plaintiff, Counter-defendant,    PLAINTIFF’S ADMINISTRATIVE
21                                                   MOTION TO CONSIDER WHETHER
                           v.                        ANOTHER PARTY’S MATERIAL
22
                                                     SHOULD BE SEALED PURSUANT TO
      APPLE INC.,                                    CIVIL LOCAL RULE 79-5
23
24                  Defendant, Counterclaimant.
                                                     Judge: Hon. Yvonne Gonzalez Rogers
25
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27
28
     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S                          CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
       Case 4:20-cv-05640-YGR           Document 1363        Filed 03/17/25      Page 2 of 3




 1          Pursuant to Civil Local Rules 7-11 and 79-5(f), Plaintiff Epic Games, Inc. (“Epic”)
 2   submits this administrative motion to consider whether another party’s material should be sealed
 3   with respect to its Epic’s Objections to Special Master Determinations Issued March 11
 4   Regarding Apple’s Re-Reviewed Documents (“Objections”), the Declaration of Yonatan Even
 5   (“Even Declaration”) and Exhibits A through D, all dated March 17, 2025. The documents and
 6   portions of documents Epic seeks to temporarily file under seal are listed below:
 7
            Document                           Corresponding Page and Line Number(s)
 8
            Exhibit A to the Even              Document in its entirety.
 9          Declaration
            Exhibit B to the Even              Document in its entirety.
10          Declaration
            Exhibit C to the Even              Document in its entirety.
11          Declaration
12          Exhibit D to the Even              Document in its entirety.
            Declaration
13
            Epic takes no position on the sealing of Exhibits A and D.
14
            Epic opposes the sealing of Exhibits B and C; those documents were admitted into
15
     evidence (as CX-223 and CX-224 respectively), portions thereof were presented in open court
16
     during the evidentiary hearings, and no portion thereof warrants sealing beyond PII, internal
17
     project codenames and non-public Apple financial information. On March 5, 2025, Epic
18
     provided Apple with proposed public versions of all Exhibits admitted into evidence during the
19
     evidentiary hearings, and asked Apple to agree to Epic’s proposed redactions of confidential
20
     information, but Apple has declined to agree to any public versions to date. Accordingly, because
21
     Apple stands on its designation of these documents as confidential under the protective order in
22
     this case, Epic seeks leave to provisionally file the documents under seal. See Local Rule 79-5(f).
23
     Epic reserves the right to oppose, under Rule 79-5(f)(4), any submission Apple makes to support
24
     sealing under Rule 79-5(f)(3). Epic also hereby provides notice of lodging to all parties and their
25
     counsel pursuant to Civil Local Rule 79-5(f).
26
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     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S                 1          CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
      Case 4:20-cv-05640-YGR      Document 1363      Filed 03/17/25     Page 3 of 3




 1   Dated: March 17, 2025                  Respectfully submitted,
 2
                                            By:   /s/ Yonatan Even
 3
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     PLAINTIFF’S ADMINISTRATIVE MOTION TO
     CONSIDER WHETHER ANOTHER PARTY’S         2          CASE NO. 4:20-CV-05640-YGR-TSH
     MATERIAL SHOULD BE SEALED
